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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION - CINCINNATI

WILLIAM BLAIR,                          :         Case No. 1:20-cv-751
                                        :
              Plaintiff,                :         Judge Matthew W. McFarland
                                        :
 vs.                                    :
                                        :
JOHN HOOVER, et al.,                    :
                                        :
              Defendants.               :


        ORDER ADOPTING REPORT AND RECOMMENDATION (DOC. 4)


       The Court has reviewed the Report and Recommendation (Doc. 4) of United States

Magistrate Judge Stephanie K. Bowman, to whom this case is referred pursuant to 28

U.S.C. § 636(b). As no objection to the Report and Recommendation has been filed and

the time to do so has expired, the Court ADOPTS the Report and Recommendation in its

entirety. Accordingly, this action is DISMISSED WITH PREJUDICE for failure to state

a claim for relief. The Court further CERTIFIES pursuant to 28 U.S.C. § 1915(a) that an

appeal of this Order would not be taken in good faith and therefore DENIES Plaintiff

leave to appeal in forma pauperis.

       IT IS SO ORDERED.

                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF OHIO


                                            By:      /s/ Matthew W. McFarland b
                                                  JUDGE MATTHEW W. McFARLAND
